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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                           EASTERN DIVISION




United States of America,            :

            Plaintiff,               :

     v.                              :    Case No. 2:96-cr-068(13)

Darrell Parfitt,                     :    JUDGE SMITH

            Defendant.               :

                              DETENTION ORDER

     Defendant, Darrell Parfitt, appeared before the Court for a
preliminary supervised release revocation hearing and detention
hearing on January 25, 2006.        He waived his preliminary
supervised release revocation hearing, and counsel argued the
issue of detention.      Following argument, the Court ordered the
defendant detained without bond pending a final supervised
release revocation hearing.        The purpose of this order is to set
forth in writing the reasons for that decision.
     The supervised release violation report alleged that the
defendant violated his term of supervised release by becoming
involved in new criminal activity and by leaving the Ralph W.
Alvis House before the expiration of a six-month term at that
facility.   The defendant conceded that he left the Alvis House
without the permission of his Probation Officer, although he
contended both that the Alvis House sentence might not have been
appropriate and that he left because his child was ill.               He also
denies being involved in any criminal activity, although he was
apprehended close to the scene of a home invasion and robbery
driving a vehicle in which was located property stolen in the
robbery.    He also fled from police when stopped.
     When probable cause exists to believe that a supervised
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release violation has occurred it becomes the defendant’s burden
to persuade the Court by clear and convincing evidence that he is
neither a risk of flight nor a danger to the community.               In this
case, the only evidence before the Court on those issues was the
supervised release violation report itself, which indicates that
Mr. Parfitt’s behavior in disregarding orders from his Probation
Officer, absconding from close supervision at the Alvis House,
and attempting to avoid arrest, is consistent with a risk of
flight rather than the lack of such a risk.            Further, Mr. Parfitt
has already had his term of supervised release revoked once for
earlier violations.     Under these circumstances, he simply did not
persuade the Court by the required amount of evidence that he was
neither a risk of flight nor a danger to the community.
Consequently, he was detained without bond pending further
proceedings.
     The defendant was advised of his right to seek review of
this Detention Order by a United States District Judge pursuant
to 18 U.S.C. §3145(b).


                                    /s/ Terence P. Kemp
                                    United States Magistrate Judge




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